       Case 1:20-cv-00517-PB          Document 141       Filed 04/15/25     Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

*************************************
William Justice,                    *
                                    *
               Plaintiff,           *
       v.                           *               Civil No. 1:20-cv-00517-PB
                                    *
Christopher T. Sununu, et al.,      *
                                    *
               Defendants.          *
                                    *
*************************************

   NOTICE TO COURT REGARDING PLAINTIFF’S CLAIMS AND DEFENDANTS

        Plaintiff, William Justice, pro se, and Defendants, by counsel, the New Hampshire

Office of the Attorney General, hereby submit the following notice pursuant to this Court’s

Order during the Status Conference held on March 17, 2025:

       1.      Plaintiff filed an Amended Complaint on or about February 28, 2025. The

Amended Complaint included several causes of action that were recommended for dismissal

pursuant to the Report and Recommendation (ECF 29). This Court ordered the Parties, over

objection by Defendants, to agree to which claims Plaintiff is proceeding on, and which

defendants Plaintiff is proceeding against.

       2.      The Parties, with Plaintiff’s guardian, Wanda Duryea, conferred via telephone

on April 7, 2025.

       3.      The Parties agree that the claims that Plaintiff is proceeding on are the same as

the claims allowed to proceed under the Amended Report and Recommendation (ECF No.

29). Both Parties reserve all rights regarding appealing the Report and Recommendation.

       4.      The Parties further agree that Plaintiff is proceeding against the following

Defendants:
       Case 1:20-cv-00517-PB        Document 141      Filed 04/15/25     Page 2 of 3




              a. Bret Richardson*
              b. Kenneth K. Kum
              c. Jonathan Boisselle
              d. CO Ryan*
              e. CO Morissette
              f. Paula L. Mattis
              g. Helen Hanks
              h. Carlene Ferrier, RN
              i. Frank Logan
              j. Joshua Deblois
              k. Paige Kimball
              l. Benjamyn Carver
              m. Deborah Robinson

                 *The AGO currently does not represent Defendants Richardson and Ryan,
                 and, upon information and belief, these Defendants have not been served.

       4. In submitting this Agreement, the Defendants preserve all defenses.

                                          Respectfully submitted,


                                          DEFENDANTS:
                                          HELEN HANKS, PAULA MATTIS, DEBORAH
                                          ROBINSON, CARLENE FERRIER, FRANK LOGAN, III,
                                          JOSHUA DEBLOIS, BENJAMYN CARVER, PAGE
                                          KIMBALL, RILEY MORISSETTE, JONATHAN
                                          BOISSELLE, KENNETH KUM

                                          By their attorney,

                                          JOHN M. FORMELLA
                                          ATTORNEY GENERAL

Dated: April 14, 2025                     /s/ Catherine A. Denny
                                          Catherine A. Denny, Bar #275344
                                          Assistant Attorney General
                                          Civil Bureau
                                          NH Department of Justice
                                          1 Granite Place South
                                          Concord, NH 03301
                                          catherine.a.denny@doj.nh.gov
                                          (603) 271-1354




                                            -2-
      Case 1:20-cv-00517-PB   Document 141      Filed 04/15/25   Page 3 of 3




                                   PLAINTIFF:


      4-14-2025
Date: ________                     ______________________
                                   William Soler Justice




                                    -3-
